Case 6:14-cV-06050-FPG-I\/|WP Document 71 Filed 05/14/18 Page 1 of 4

UN|TED STATES D|STR|CT COURT
WESTERN D|STF\’|CT OF NEW YORK

 

COVANEX, |NC.,
P|aintiff, CONSENT TO

CHANGE ATTORNEY

v.
Case No. 14-cv-6050-FPG-|\/|WP

V|JAY DUVVADA and SR|N|VASARAO KASA,

Defendants.

 

VVe, the undersigned, pursuant to CPLR 321, do hereby consent and agree that
Lec|air Korona Vahey Co|e LLP, Laurie A. Vahey, Esq., attorneys of record for the
defendants, Vijay Duvvada and Srinivasarao Kasa, With offices located at 28 E. |\/|ain
Street, Suite 1500, Rochester, New York 14614, be changed, and that Vahey |V|u|doon
Reston Getz LLP, Laurie A. Vahey, Esq., With offices located at 144 Exchange B|vd.,
Suite 402, Rochester, NeW York 14614, be substituted as attorneys for defendants,

Vijay Duvvada and Srinivasarao Kasa.

LECLA|R KORONA VAHEY COLE, LLP

._.__`__

Dated: %ZQ .2018 BY;&
Steven E. Co|e, Esq.

28 E. |\/|ain Street, Suite 1500
Rochester, NeW York 14614
(585) 327-4100

 

Case 6:14-cv-06050-FPG-|\/|WP Document 71 Filed 05/14/18 Page 2 of 4

VAHEY MULDOON RESTON GETZ, LLP

_ 'L / _/ /f J~- .
.2018 Bvr' jas ft / alibi »--/
1 Laurie A. Vahey, Esq. q
144 Exchange B|vd., Suite 40`2“
Rochester, New York 14614
(585) 262-5130

 

 

Dated: ,2018
V|JAY DUVVADA
STATE OF )
COUNTY OF )
On the _ day of , in the year 2018, before me, the

undersigned, personally appeared VlJAY DUVVADA, personally known to me or proved
to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same
in his individual capacity.

 

Notary Pub|ic

 

Dated: , 2018
SR|N|VASARAO KASA
STATE OF )
COUNTY OF )
On the _ day of , in the year 2018, before me, the

undersigned, personally appeared SR|N|VASARAO KASA, personally known to me or
proved to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same
in his individual capacity.

 

Notary Public

Case 6:14-cv-06050-FPG-|\/|WP Document 71 Filed 05/14/18 Page 3 of 4

VAHEY MULDOON RESTON GETZ, LLP

Dated: , 2018 BY:

 

Laurie A. Vaheyl Esq.

144 Exchange B|vd.l Suite 402
Rochester, New York 14614
(585) 262-5130

 

Dated: o 5‘ 0 31 .2018 )®` \iii“"“`z/
viJAY ouvale U

sTATE or= times
couNTY oF'§“¢\ws<»\/\ )

On the _deay of \'Vtu . in the year 2018, before me, the
undersigned, personally appeared YIJAY DUWADA, personally known to me or proved
to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to e that executed the same

in his individual capacity. '

      

 

 

_ /
NiAXWE|_L i\iiAlER n _-{;_-_" j
Notary F’ubiic-State of Kansas MO/MW PEEUC
le Appt. Expires ‘S i`?

 

 

 

Dated: ___,__ ,2018 _ _______
SR|N|VASARAO KASA
STATE OF )
COUNTY OF )
On the __ day of , in the year 2018, before me, the

undersigned, personally appeared SR|N|VASARAO KASA, personally known to me or
proved to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same
in his individual capacity.

 

Notary Public

Case 6:14-cv-06050-FPG-|\/|WP Document 71 Filed 05/14/18 Page 4 of 4

VAHEY MULDOON RESTON GETZ, LLP

 

Dated: _ ___m__. 2018 BY: __ ____ __ ___ _,__ ____
Laurie A. Vahey, Esq.
144 Exchange B|vd., Suite 402
Rochester, New York 14614
(585) 262-5130

Dated: . 2018
V|JAY DUVVADA

STATE OF )

COUNTY OF )

On the _ day of . in the year 2018, before me, the

undersigned, personally appeared V|JAV DU\.{\¢F»*»\|ZL'=\l personally known to me or proved
to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same
in his individual capacity.

 

Notary Public

  
     
  

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Dated: 0 S'l 0§‘ ,2018 i-

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couNTY oF )

On thai day of _ __F, in the year 2018, before me, the
undersigned, personally appeared S |VASARAO KASA, personally known to me or
proved to me on the basis of satisfa ory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same

in his individual capacity l

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